John Carrell 224260                                          Fil ED
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Utah State Prison
P.O. Box250                                          lfli8 AUG 28 /-\ H: l l FU: GE WED CLEflK
Draper, UT 84020
                                                                                     AUG 2 1 2018
                                                                                  U.S. DISTRICT COURT


                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



               JOHN CARRELL                           CIVIL RIGHTS COMPLAINT AND DEMAND
                                                       FOR JURY TRIAL PERSUANT TO 42 USC
                Plaintiff, Pro Se                                     1983

                        v.
                                                        Case: 2: 18-cv-00654
Officer Jordan Kearl, Sergeant Gomez, Captain           Assigned To: Campbell, Tena
Maryann Reding, Captain Phelps, Warden Larry            Assign. Date: 8/21/2018
Benzon, Lucy Ramirez, Lt. Allan Howard and/or           Description: Carrell v Kearl et al
Captain Ray, Captain J. Beers, Captain Rick
Brown, Captain Victor Smith and 10 John Doe's


                   Defendants

   A.   JURISDICTION
          1. USCA 1985 AND USCA 42 1983


   B. PARTIES

          1. Plaintiff, John Carrell (Plaintiff)
          2. Plaintiff, John Carrell resides in Salt Lake County, state of Utah
          3. Defendants
             a.) Officer Kearl, Corrections Officer, Utah State Prison
             b.) Sergeant Gomez, Corrections/Shift Sergeant, Balcer Block, Utah State Prison
             c.) Captain Maryann Reding, Correction/IDHO Officer, Utah State Prison
             d.) Captain Phelps, Corrections/Visiting Officer, Utah State Prison
              e.) Warden Larry Benzon, Warden, Utah State Prison


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               £) Program Manager, Lucy Ramirez, Hearing Office, Utah State Prison
               g.) Captain Ray, Corrections/Commander, Dog Block, Utah State Prison
               h.) Lt. Allan Howard, Correction/Assistant Commander, Dog Block Utah State Prison
               i.) Captain J. Beers, Corrections/Shift Commander, Wasatch, Utah State Prison
              j.) Captain Rick Brown, Corrections/IDHO Officer, Utah State Prison
               k.) Captain Victor Smith, Corrections/Visiting Officer, Utah State Prison
               1.) John Does's 1-10


The true names and capacities of defendants, John Doe's, 1-10, whether individual, cooperate, associate
or otherwise are as yet unidentified and unascertained by plaintiff who, therefore sues said defendants by
such fictitious names and will ask leave to amend this complaint to show these defendant's true names
and capacities when the same have been identified and ascertained.


               m.) All defendants acted under color of law in committing the acts complained of herein.


   C. NATURE OF THE CASE


           1. This action arises from the custodial misconduct of Department of Correction's
               Employees. Denying or not insuring availability of the alternative intoxicant/controlled
               substance test and the disregard of finding the "truth of the matter under consideration"
               ignores the Plaintiffs "immutable trait" of infrequent urination and discriminats against
               the Plaintiff by treating him differently than other prisoners who could produce a urine
               sample within the confines of the policy, thus denying the Plaintiff the right to prove he
               was not using intoxicants or illegal controlled substances at the time. These actions or
               omissions to act jeopardize the Plaintiffs liberty interests.
           2. When the Plaintiff physically could not urinate according to the urine collection policy
               FE 21, he requested an alternative, intoxicant/controlled substance test in good faith
               knowing he had nothing to hide.
           3. The Plaintiff was denied the alternative test on 2 occasions which resulted in 2 failures to
               produce a urine sample and caused the two IDHO A 13 guilty fmdings.
           4. The punishment for an A 13 guilty finding and the "collateral consequences" which is
               nothing more than additional punishment is very severe and is increased excessively for
               subsequent guilty fmdings.

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5. There is no distinction made between failure to produce a urine sample and being found
   with intoxicants/controlled substances in one's body. Both are recorded on the "Offender
   Discipline History Listing" as a major class write up guilty finding and described only as
   intoxicants/controlled substance.
6. The Board of Pardons and Parole look at and consider disciplinary actions of inmates
   when considering parole. These guilty findings jeopardize the Plaintiffs ability to
   qualify for parole. As such, the Plaintiff is entitled to the same due process rights during
   his disciplinary hearings as he would enjoy in a court oflaw. The Petitioner is entitled to
   be tried by the legal standard by which "guilt" must be proven beyond a reasonable
   doubt. Instead, Petitioner was found guilty and his opportunity to qualify for parole was
   threatened by disciplinary findings of guilt which were surmised by the lowest legal
   standard of only "some evidence".
7. The Plaintiff has done everything within his power to cooperate fully with staff and
   policy. The times the Plaintiff physically could not produce a urine sample and was
   granted the alternative test, he passed with no problem. This entire issue has risen from
   the discriminatory practice of denying the alternative test when requested, solely at the
   whim of the officer in control at the time.
8. The Plaintiff also made every effort to truthfully explain his situation to the IDHO
   officers who are supposed to be fair and determine the "truth of the matter under
   consideration" according to FD01/04.02C2. This did not happen.
9. The Plaintiff also made every effort to explain his situation in the appeals process which
   is supposed to insure policy compliance ofIDHO officers. This also did not happen
   because the circumstances surrounding the incident were not considered. Instead, the
   IDHO officers and appeals staff chose an attitude of impunity in their mistreatment of the
   Plaintiff The IDHO officers and appeals staff chose to apply their unwritten/unspoken
   code of"back the cop" and "one size fits all punishment" which is so prevalent in this
   institution. This tends to confirm Sixth District Court Judge, Wallace Lee's, assessment
   of the Department of Corrections being "sneaky" and "deceitful".
10. The above listed officers of the Utah Department of Corrections have ignored the
   Plaintiffs immutable trait of infrequent urination and taken unfair advantage of the
   vaguely-worded policy governing administration of alternative, intoxicant/controlled
   substance tests as described in FE21/03.00 through FE21/03.05. As a result, Plaintiffs



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        constitutional right of equal treatment and due process has been violated and his liberty
        interest in qualifying for parole has been threatened.
     11. And finally, it is just wrong for the Department of Corrections to abuse the, almost
        unlimited authority they have over the Plaintiff and punish him severely for the inability
        he has to meet their policy, which is discriminatory to him and those like himself who
        cannot always urinate on demand.



D. CAUSE OF ACTION                        U~j~i~¥:~!111!~
     1. Plaintiffs fourteenth amendment, of the Constitution of the United States, right of equal
         treatment under the law was violated by Officer Jordan Kearl on July 13, 2016 when
         Officer Kearl denied Plaintiffs request for an alternative intoxicant/controlled substance
         test. Plaintiff made every effort to comply with Officer Kearl's order to produce a urine
         sample. When Plaintiff knew he could not produce a urine sample in the required time,
         Plaintiff requested an alternative test. By denying the alternative test, Officer Kearl
         denied Plaintiff the opportunity to prove he had no intoxicants or controlled substances
         in his body and discriminated against Plaintiff because of his inability to urinate
         according to Department of Correction's Policy, FE21.
     2. Plaintiffs fourteenth amendment right of equal treatment under the law was violated by
         Officer Sergeant Gomez on July 13, 2016 when he denied Plaintiffs request for an
         alternative intoxicant/controlled substance test. Plaintiff made every effort to comply
         with policy to produce a urine sample. When Plaintiff knew he could not produce a urine
         sample in the required time, Plaintiff requested an alternative test. By denying the
         alternative test, Officer Sergeant Gomez denied the Plaintiff the opportunity to prove he
         had no intoxicant or controlled substances in his body and discriminated against Plaintiff
         because of his inability to urinate according to Department of Correction's Policy, FE21.
     3. Plaintiffs fourteenth amendment rights of due process and of equal treatment under the
         law were violated by Captain Maryann Reding on August 30, 2016 when Maryann
         Reding chose not to recognize that Plaintiff had requested alternative testing methods
         and chose not to believe his written statement in which Plaintiff explained his failure to
         produce a urine sample within the constricts of the policy as a physical inability rather
         than a behavior.



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4. Plaintiff's fourteenth amendment right of equal treatment under the law was violated by
   Captain Phelps on or about October 2, 2016 when Captain Phelps was informed that
   Plaintiff's failure to produce a urine sample was the result of a body function and not a
   behavior. Captain Phelps chose to punish Plaintiff with a four month barrier visit
   restriction for a physical inability not a behavior, thereby discriminating against Plaintiff
   because he could not physically urinate according to policy after being denied the
   alternative testing method.
5. Plaintiff's fourteenth amendment right of equal treatment under the law was violated by,
   then, Deputy Warden Larry Benzon on or about November 11, 2016 when after being
   informed, by Plaintiff's letter, that punishment was being administered because of an
   inability rather than a behavior. No action was taken to remedy the situation.
6. Plaintiff's fourteenth amendment rights of due process and of equal treatment under the
   law were violated by Lucy Ramirez, Program Manager, Hearing Office on or about
   September 27, 2016. After she was informed in Plaintiff's appeal to Captain Maryann
   Reding's :finding that the Plaintiff's failure to produce a urine sample according to policy
   was due to a physical inability rather than a changeable behavior. Ms. Ramirez chose to
   uphold Captain Reding's finding and allowed the punishment to continue. This
   discriminates against the Plaintiff and others who physically cannot urinate according to
   policy.
7. Plaintiff's fourteenth amendment rights of due process and of equal treatment under the
   law were violated by Lucy Ramirez, Program Manager, Hearing Office, on or about
   October 11, 2016. After she was informed by Plaintiff's appeal to Captain Phelps'
   decision to impose the visiting restriction of 4 months for Plaintiff's failure to produce a
   urine sample according to policy despite being due to a physical inability rather than a
   changeable behavior, Ms. Ramirez chose to uphold Captain Phelps' decision. This
   discriminated against the Plaintiff's and others who cannot physically urinate according
   to policy.
8. Plaintiff's fourteenth amendment right of equal treatment under the law was violated by
   Lt. Allan Howard and/or Captain Dallas Ray on or about October 30, 2017 when
   Plaintiff was targeted and moved to Oquirrh 2 in retaliation for his persistence in trying
   to exercise his constitutional right in defending himself in a court of law.
9. Plaintiff's fourteenth amendment right of equal treatment under the law was violated by
   Lt. Allan Howard and/or Captain Dallas Ray on or about November 6, 2017 when, after

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   being moved back to Wasatch, Dog Block, Plaintiff was targeted and put on a "fast
   track" for intoxicant/controlled substances urinalysis test. This was done with the
   knowledge of Plaintiffs difficulties in producing a urine sample within constricts of
   FE21 policy. This action was taken to send a clear message to Plaintiff of just how hard
   staff could make his life if Plaintiff persisted with his requests and efforts to get what he
   needed to defend himself in court and to act as his own council.
10. Plaintiffs fourteenth amendment right of equal treatment under the law was violated by
   Captain J. Bears on December 3, 2017 when he denied Plaintiffs request for an
   alternative intoxicant/controlled substances test made through Sergeant White. By
   denying the alternative test, Captain Bears denied the Plaintiff the opportunity to prove
   he had no intoxicants or controlled substances in his body and discriminated against the
   Plaintiff because of his inability to urinate   ~ccording   Department of Correction's policy
   FE21.
11. Plaintiff's fourteenth amendment rights of due process and of equal treatment under the
   law were violated by Captain Rick Brown on or about December 21, 2017 when, after
   Plaintiff testified to Captain Brown that Plaintiff had an inability rather than a behavior
   or discipline pro blem and that Plaintiff had requested, but had been denied the alternative
   test. Captain Brown chose to find Plaintiff guilty of an Al 3 charge which punished him
   for a physical inability.
12. Plaintiff's fourteenth amendment right of equal treatment under the law was violated by
   Captain Victor Smith between January 22 and March 21, 2018 when after being
   informed by both Plaintiff and Plaintiffs wife that Plaintiff was being punished for an
   inability, Captain Smith ignored the fact that Plaintiffs failure to produce a urine sample
   was an inability rather than a behavior as evidenced by the Plaintiffs request for the
   alternative intoxicant/controlled substance test which was denied. Captain Smith chose
   to continue the imposed one year barrier visit punishment.
13. Plaintiffs fourteenth amendment rights of due process and of equal treatment under the
   law were violated by Lucy Ramariz on or about February 8, 2018 when, after being
   informed by Plaintiffs appeal of January 15, 2018 that Plaintiff's failure to produce a
   urine sample was a physical inability rather than a behavior or disciplinary problem. She
   ignored disciplinary policy FD Ol/04.02C2. That policy states "evidence shall be
   intended to ascertain the truth of the matter under consideration." She chose to uphold
   Captain Brown's fmding which is discriminatory to the Plaintiff because of an inability.

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     14. Plaintiffs fourteenth amendment right of equal treatment under the law was violated by
         Warden Larry Benzon on or about April 17, 2018 when after being informed by a letter
         written by the Plaintiff making Warden Benzon aware of Plaintiffs condition and
         situation. Warden Benzon chose to take no action to correct the discriminatory practice.
         Warden Benzon's omission to act and choices to totally ignore Plaintiffs sincere
         attempts to bring to right and stop the discriminatory practice over the last year
         demonstrates Warden Benzon's total disregard for basic rights of those in his care and
         allows this discrimination to continue.
     15. In April 2018, after applying for an open position at Reading for the Blind, Plaintiff was
         denied employment by John Doe #1 after explaining to Officer Halliday, during the
         interview, that Plaintiff had not been allowed the alternative intoxicant/controlled
         substance test.
     16. Warden Larry Benzon was guilty of malfeasance when after being notified of a
         discriminatory policy and practice by Plaintiffs letter of April 17, 2018, took no action
         to correct the problem. His failure to act or even communicate with Plaintiff regarding
         his legitimate concerns demonstrates Warden Benzon's disregard of basic human rights.


E. INJURY

     1. There are different categories of injury the Plaintiff has suffered because of the actions or
        omissions to act by the Defendants listed above.
     2. There are those things which are easy to see and place a value on, such as the monetary
        fmes of$150.00 and $125.00 assessed by the IDHO officers.
     3. There is the disqualification for employment which could be calculated and estimated on
        the assumption the Plaintiff had been hired for the job at Reading For the Blind were it
        not for the A-13 write up.
     4. Then there are things which are harder on which to place a monetary value, like the
        mental torment, stress and worry about being selected for another drug test and the
        possibility of Plaintiff not being allowed the alternative test ifhe is not able to produce a
        urine sample.
     5. There is the physical torture of excessive intakes of water Plaintiff had to put himself
        through for the intoxicant/controlled substance tests of February 9, 2018 and March 18,
        2018.

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      6. The feeling of hopelessness and despair of being punished for something that is totally
         out of Plaintiff's control.
      7. The greatest injury to Plaintiff was brought about by the "collateral consequence" of the
         barrier visit restriction. This injury is both psychological and emotional because it denied
         Plaintiff the privilege of holding hands with his wife during visits and a brief hug and kiss
         from his wife at the beginning and end of visiting sessions. This is invaluable to Plaintiff
         because it is the only semblance of being able to maintain a very small part of an
         intimate, marital relationship and actually feel and be treated like a real human being
         rather than a piece of trash or an animal to be herded. There is no amount of money that
         can make up for this shred of human normalcy.




F. PREVIOUS LAW SUITS

      1. There are no previous law suits that Plaintiff has been a party to or involved with in any
         way, which included or relied on any of the facts, events or circumstances associated with
         this case.
      2. Plaintiff has previously sought informal or formal relief from the appropriate
         administrative officials regarding the acts complained of herein to no avail.


G. PRAYERFORRELIEF

   Wherefore, Plaintiff prays for the following relief against Defendants.
      1. For monetary amount proven at trial.
      2. For special damages in an amount proven at trial.
      3. For punitive damages in kind to be defined, requested and justified to the jury.
      4. For injunctive relief as to the Department of Corrections to implement policy and carry
         out such policy to protect the rights of Plaintiff and others similarly situated, to include:
         a. Implement new or change existing urine collection policy to insure alternative testing
             method are made available upon request of the inmates and not left to officer
             discretion




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                    b. Implement new or change existing urine collection policy to eliminate the
                          requirement to produce a urine sample in addition to being allowed the alternative
                          test.
                    c. Implement new or change existing policy to distinguish how an A-13 guilty finding is
                          reported on the "offender discipline history listing", and to differentiate between a
                          failure to produce a urine sample and finding intoxicants/controlled substances in
                          one's body.
                    d. Remove the two A-13 guilty findings from Plaintiff's "offender discipline history
                          listing" and all other records or systems, such as "O Track" in order to reflect and
             .Ji   restore Plaintiff's actual behavior instead of his disability.
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             5. For injunctive relief as to the Utah Department of Corrections to prohibit retaliation
                    against the Plaintiff for filing this action to include:
                            a. Unrequested housing changes.
                            b. Loss or reduction of privilege levels.
                            c. Reduction oflock- down levels.
                            d. Loss or reduction of any other clearances.
                            e. Increase of intoxicant/controlled substance tests.
                            £     Increased cell inspections/shake-downs.
             6. For costs and expenses incurred in these proceedings.
             7. For interest on all special damages.
             8. For such and other further relief as this court may deem just and proper under the
                    circumstances.


Respectfully submitted,




       Date

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                                                                                            JAIME JENSEN
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                                                                                       MY COMMISSION EXPIRES
                                                                                             JULY 17, 2019
                                                                                           STATE OF UTAH                9
                                              DECLARATION UNDER PENALTY OF PERJURY

           The undersigned declares under penalty ofperjmythat he/she is the plaintiff in the above action, that

           he/she has read the above complaint and that the information contained therein is true and correct,

           and filed according to 28 U.S.C. Sec. 1976 and 18 U.S.C. Sec. 1621.

           EXECUTED at                 1f:?-tt"                        on   .f11lif4        _, 20 l~.

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(JO                       proved on the basis of satisfactory evidence                             MY COMMISSION EXPIRES
      te be the person(s) whose name(s) (is/are) subscribed to in this                                   JULY 17, 2019
      document, and acknowled (h she/ hey) executed the same.
      (Notary Seal)                                                                                    STATE OF UTAH




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